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16

17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. move the Court to consider whether

 4   certain portions of Plaintiffs’ Notice of Motion and Motion to Exclude the Expert Testimony of Ter-

 5   rence McGraw (“Motion to Exclude”) and certain exhibits to the Declaration of Micah G. Block in

 6   Support of the Motion to Exclude the Expert Testimony of Terrence McGraw (collectively, the “Con-

 7   fidential Materials”) should be sealed.

 8          Defendants designed Exhibit A, which is the Report of Terrence McGraw dated August 30,

 9   2024, as “Highly Confidential—Attorneys’ Eyes Only” pursuant to the Stipulated Protective Order

10   (Dkt. No. 132) in the above-captioned action.

11          Defendants designed Exhibit B, which is the Rebuttal Report of Terrence McGraw dated

12   September 21, 2024, as “Highly Confidential—Attorneys’ Eyes Only” pursuant to the Stipulated

13   Protective Order (Dkt. No. 132) in the above-captioned action.

14          Defendants designed Exhibit C, which is the transcript of the deposition of Terrence McGraw

15   taken in this action on December 16, 2024, as “Highly Confidential—Attorneys’ Eyes Only” pursu-

16   ant to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned action.

17          Defendants designed Exhibit D, which is the transcript of the deposition of Tamir Gazneli

18   taken in this action on September 4, 2024, as “Highly Confidential—Attorneys’ Eyes Only” pursuant

19   to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned action.

20          Defendants designed Exhibit E, which is the transcript of the deposition of Yaron Shohat

21   taken in this action on August 29, 2024, as “Highly Confidential—Attorneys’ Eyes Only” pursuant

22   to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned action.

23          Plaintiffs, therefore, must under the terms of the Stipulated Protective Order, file Exhibits A

24   through E under seal and redact the portions of the Motion to Exclude that quote Exhibits A through

25   E.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
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 1          Accordingly, Plaintiffs now move the Court to consider whether the Confidential Materials

 2   should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any

 3   confidentiality designations as well as the sealability of the materials at issue.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: January 9, 2025                     Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
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